Case 1:21-cv-00400-APM Document 122 Filed 09/30/24 Page 1 of 3

IN THE UNITED STATES pte COURT
FOR THE DISTRICT OF COL

BARBARA J. LEE et al,
Plaintiffs,
v.

DONALD J. TRUMP et al.,

Defendants.

ERIC SWALWELL,
Plaintiff,
Vv.

DONALD J. TRUMP et al.,

Defendants,

JAMES BLASSINGAME et. al.,
Plaintiffs,
Vv.
DONALD J. TRUMP,
Defendant.

CONRAD SMITH et al.,
Plaintiffs,
v.

DONALD J. TRUMP et al.,

Defendants.

MARCUS J. MOORE et al,
Plaintiffs,
V.
DONALD J. TRUMP,
Defendant.

Signature

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Case No. 2!-cv-00400 (APM)

(lead case)

Case No. 21-cv-00586 (APM)

(consolidated case)

Case No. 21-cv-00858 (APM)

(consolidated case)

Case No. 21-cv-02265 (APM)

(consolidated case)

Case No, 22-cv-00010 (APM)

(consolidated case)

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BOBBY TABRON et al.,
Plaintiff,
Case No. 23-cv-00011 (APM)
v.
(consolidated case)
DONALD J. TRUMP,
Defendants,
BRIANA KIRKLAND,
Plaintiff,
Case No. 22-vv-00034 (APM)
v.
(consolidated case)
DONALD J. TRUMP,
Defendant.
SANDRA GARZA,
Plaintiff,
Case No. 23-cv-00038 (APM)
V.
(consolidated case)
DONALD J. TRUMP et al.,
Defendants.

AGREEMENT TO BE BOUND BY STIPULATED PROTECTIVE ORDER
\
My full name is Jessica (\arie Nutkins 4h210050- 504 . My address is

Pd. Box 5000 Tallahassee EL JAS FCT ‘Tallahassee. . 1 hereby

acknowledge that I am to have access to information designated in these Actions as CONFIDEN-

TIAL or ATTORNEYS’ EYES ONLY material, as permitted by the terms of the Parties’ Stipu-
lated Protective Order, in the above captioned action. | certify my understanding that such infor-

mation has been provided to me pursuant to the terms and restrictions of the Stipulated Protective

dh
Order entered on Auavst % , 2024, under paragraph 3 (Protection of Designated
UY
Material) thereof, and that I have been given a copy of and have read said Stipulated Protective

Order and agree to be bound by the terms thereof. I further agree to subject myself to the
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jurisdiction of the United States District Court for the District of Columbia regarding resolution of

any matter pertaining to said Stipulated Protective Order.

I declare under penalty of perjury under the laws of the United States of America and the

District of Columbia that the foregoing is true and correct.

Dated: _|$ “ep AY

Signature: f. (| J Ka
Print Name: "oe Jessica Mn

